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              Exhibit 2
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Charted claims
Non-Method claim: 1
US8788362B2                                 Square Point of Sale app (“The Accused Product”)
1. A system for    The accused product discloses a system (e.g., contactless payments) for processing a wireless
processing a       request (e.g., payment request) over a network based on a human-perceptible advertisement
wireless request   (e.g., informing to accept payments from any contactless card or mobile wallet from their NFC-
over a network     enabled device) for advertising to consumers a product or service offered by a vendor (e.g.,
based on a         client site, boutique, farm stand, etc.), the advertisement (e.g., informing to accept payments
human-             from any contactless card or mobile wallet from their NFC-enabled device) associated with at
perceptible        least one radio frequency identification (RFID) tag (e.g., NFC tag on a contactless card), the at
advertisement      least one RFID tag (e.g., NFC tag on a contactless card) being configured to transmit a wireless
for advertising    identification transmission signal (e.g., tag responds with the requested information
to consumers a     corresponding to a prompt for inputting a PIN) representing information pertaining to the
product or         product or service offered by a vendor (e.g., client site, boutique, farm stand, etc.).
service offered
by a vendor, the   As shown below, Square Point of sale app is a payment system used to receive payments.
advertisement      Square Point of sale app has tap to pay on iPhone that uses Near Field Communication (NFC)
associated with    technology wherein a user can Pay with your NFC-enabled contactless card to an iPhone which
at least one       can accept payments. The iPhone is equipped with Square Point of sale software for reading a
radio frequency    human-perceptible advertisement for advertising a product or service offered by a vendor. The
identification     RFID tag (e.g., contactless card) transmits a wireless identification transmission signal (e.g.,
(RFID) tag, the    tag responds with the requested information) in response to the product or service offered by
at least one       a vendor (e.g., client site, boutique, farm stand, etc.).
RFID tag being
configured to
transmit a
wireless
identification
transmission
signal
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representing
information
pertaining to the
product or
service offered
by a vendor, the
system
comprising:




                    https://squareup.com/us/en/point-of-sale/software




                    https://squareup.com/us/en/payments/tap-to-pay
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https://developer.apple.com/tap-to-pay/
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https://squareup.com/us/en/payments/tap-to-pay
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https://www.ietf.org/archive/id/draft-ietf-6lo-nfc-18.txt
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http://nearfieldcommunication.org/technology.html
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https://www.iso.org/standard/59643.html
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                    https://squareup.com/us/en/payments/tap-to-pay

a mobile            The accused product discloses a mobile ordering device (e.g., NFC-enabled device) including a
ordering device     radio frequency identification reader (e.g., NFC reader on the device) configured to receive
including a radio   from the at least one RFID tag (e.g., NFC tag on a contactless card) the wireless identification
frequency           transmission signal (e.g., tag responds with the requested information corresponding to a
identification      prompt for inputting a PIN) corresponding to the advertisement (e.g., informing to accept
reader              payments from any contactless card or mobile wallet from their NFC-enabled device) and
configured to       representing information pertaining to the product or service offered by the vendor (e.g., client
receive from the    site, boutique, farm stand, etc.).
at least one
RFID tag the        As shown below, Square Point of sale app is a payment system used to receive payments.
wireless            Square Point of sale app has tap to pay on iPhone that uses Near Field Communication (NFC)
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identification      technology wherein a user can Pay with your NFC-enabled contactless card to an iPhone which
transmission        can accept payments. Initial connection setup is established through a radio frequency
signal              network wherein tag receives the instruction from the NFC Interrogator/reader or radio
corresponding       frequency identification reader (e.g., NFC antenna area) and checks if it is valid. If it is a valid
to the              request, the tag then responds with the requested information. This information, received by
advertisement       the reader on the NFC-enabled device corresponds to a prompt for inputting a PIN.
and
representing
information
pertaining to the
product or
service offered
by the vendor,




                    https://squareup.com/us/en/payments/tap-to-pay
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https://register.apple.com/tap-to-pay-on-iphone/faq/




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                   https://www.iso.org/standard/59643.html

the mobile         The accused product discloses the mobile ordering device (e.g., NFC-enabled device)
ordering device    configured to accept input (e.g., customer enters PIN) from a consumer, generate an
configured to      electronic transaction order (e.g., payment request) pertaining to the advertisement (e.g.,
accept input       informing to accept payments from any contactless card or mobile wallet from their NFC-
from a             enabled device) with the information from the wireless identification transmission signal (e.g.,
consumer,          tag responds with the requested information corresponding to a prompt for inputting a PIN),
generate an        communicate the transaction order (e.g., payment request) to a commerce data system (e.g.,
electronic         payments from any contactless card or mobile wallet) over a network, and communicate an
transaction        identifier (e.g., receipt Number) associated with the consumer to the commerce data system
order pertaining   (e.g., payments from any contactless card or mobile wallet).
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to the
advertisement     As shown below, Square Point of sale app is a payment system used to receive payments.
with the          Square Point of sale app has tap to pay on iPhone that uses Near Field Communication (NFC)
information       technology wherein a user can Pay with your NFC-enabled contactless card to an iPhone which
from the          can accept payments. The NFC-enabled iPhone is configured to accept a PIN as an input after
wireless          the contactless card is tapped on the phone. Once the input is received, the device requests
identification    payment from the commerce system in the form of a transaction order.
transmission
signal,
communicate
the transaction
order to a
commerce data
system over a
network, and
communicate an
identifier        https://squareup.com/us/en/payments/tap-to-pay
associated with
the consumer to
the commerce
data system,
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https://squareup.com/us/en/payments/tap-to-pay
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https://developer.apple.com/tap-to-pay/
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https://register.apple.com/tap-to-pay-on-iphone/faq/




https://squareup.com/help/us/en/article/7786-get-started-with-tap-to-pay-on-iphone
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                  https://squareup.com/help/us/en/article/5381-in-app-summaries-and-reports

the mobile        The accused product discloses the mobile ordering device (e.g., NFC-enabled device) in
ordering device   communication with the commerce data system (e.g., payments from any contactless card or
in                mobile wallet), the commerce data system (e.g., payments from any contactless card or
communication     mobile wallet) for receiving and processing the request (e.g., payment request) of the mobile
with the          ordering device (e.g., NFC-enabled device) across the network, and responding to the request
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commerce data      (e.g., payment request) by sending information (e.g., acknowledgement in the form of Done or
system, the        a checkmark on the display screen) to the mobile ordering device (e.g., NFC-enabled device)
commerce data      via the network, the information (e.g., acknowledgement in the form of Done or a checkmark
system for         on the display screen) associated with the wireless identification transmission signal.
receiving and
processing the     The NFC-enabled iPhone sends a request to the commerce data system after the consumer
request of the     inputs a pin for authenticating the transaction. The commerce data system processes the
mobile ordering    request and sends information regarding the payment back to the device in the form of an
device across      acknowledgement signal that includes a check mark on the display with an option to send a
the network,       receipt of the transaction to the consumer.
and responding
to the request
by sending
information to
the mobile
ordering device
via the network,
the information
associated with
the wireless
identification
transmission
signal;


                   https://squareup.com/help/us/en/article/7786-get-started-with-tap-to-pay-on-iphone
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wherein the       The accused product discloses a system wherein the commerce system (e.g., payments from
commerce          any contactless card or mobile wallet) maintains account information (e.g., payment card
system            brand and last 4 digits) associated with the identifier (e.g., receipt Number), the account
maintains         information (e.g., payment card brand and last 4 digits) including transaction details (e.g.,
account           transaction history i.e. Date of Payment, Item Sold, Tax etc.) of the transaction order (e.g.,
information       payment request).
associated with
the identifier,   The NFC-enabled device can further check the transaction history of the account for analysis.
the account       The transaction history includes the account information and daily sales data which can be
information       used to analyze the sales patterns of the vendor.
including
transaction
details of the
transaction
order




                  https://squareup.com/us/en/point-of-sale/software#panel-reporting--
                  1viHrj3wwLm2QnnfKVPoLx
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